











	






IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-70,341-01






ARTURO NERI PRADO, Relator


v.


GILLESPIE DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NOS. 4217 and 4617 IN THE 216th JUDICIAL DISTRICT COURT

FROM GILLESPIE COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed applications for a writ of habeas corpus in
the 216th Judicial District Court of Gillespie County, that more than 35 days have elapsed, and that
the applications have not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Gillespie County, is ordered to file a response, which may be made by: submitting the record on such
habeas corpus applications; submitting copies of timely filed orders which designate issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); by stating that the
nature of the claims asserted in the applications filed by Relator are such that the claims are not
cognizable under Tex. Code Crim. Proc. art. 11.07, § 3; or stating that Relator has not filed 
applications for habeas corpus in Gillespie County.  This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: August 20, 2008

Do not publish	


